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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

Consumer Financial Protection Bureau,    )
                                         )
                     Plaintiff,          )
                                         )   C.A. No. 1:17-cv-01323-MN
       v.                                )
                                         )
The National Collegiate Master Student   )
Loan Trust, et al.,                      )
                                         )
                     Defendants.         )



 PLAINTIFF CONSUMER FINANCIAL PROTECTION BUREAU’S OPPOSITION TO
INTERVENOR TRANSWORLD SYSTEMS INC.’S MOTION TO DISMISS FOR LACK
OF SUBJECT MATTER JURISDICTION AND INTERVENORS AMBAC ASSURANCE
 CORP., WILMINGTON TRUST CO., AND PENNSYLVANIA HIGHER EDUCATION
              ASSISTANCE AGENCY’S MOTION TO DISMISS
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                        NATURE AND STAGE OF THE PROCEEDINGS

          Plaintiff Consumer Financial Protection Bureau files this consolidated opposition to

motions to dismiss filed by Intervenor Transworld Systems Inc. (“TSI”), see D.I. 242, and

Intervenors Ambac Assurance Corp. (“Ambac”), Wilmington Trust Company (“Wilmington”),

and Pennsylvania Higher Education Assistance Agency (“PHEAA”), See D.I. 300.1 None of the

other three Intervenors, the Owners, or Defendants have joined either motion or moved to

dismiss this action.

                                   SUMMARY OF ARGUMENT

          Movants attempt to step into the shoes of the Defendants to claim that they cannot be

held accountable for the illegal activities that were conducted on their behalf and the proceeds of

which inured to their benefit. Movants’ motions to dismiss should be denied because Movants

lack standing to pursue their arguments on Defendants’ behalf, the Bureau’s lawsuit is consistent

with the Constitution’s separation of powers, the Court has subject matter jurisdiction over this

action, the Complaint properly alleges the elements of its claims, and the action is not time-

barred.

          First, Movants lack prudential standing to assert the legal interests of Defendants, and

lack authority within the structure of Defendant Trusts to speak on their behalf.

          Second, the Bureau can prosecute this enforcement action after Seila Law v. CFPB

because it has been approved by a Director fully accountable to the President, and because the




1 This brief uses the term “Movants” to refer to all four parties collectively or when responding
to arguments made in both motions, and uses the term “Ambac Movants” when referring to
Ambac, Wilmington, and PHEAA or when responding to arguments made only by those three
entities. It refers to the respective opening briefs as “TSI Br.” (D.I. 243) and “Ambac Movs. Br.”
(D.I. 301). Exhibits to the Ambac Movants’ brief are referred to as “Ambac Movs. Ex.”


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Consumer Financial Protection Act’s (“CFPA”) statute of limitations does not render the

Director’s ratification invalid.

        Third, the Court has subject matter jurisdiction over this action for at least three

independent reasons: the CFPA expressly grants jurisdiction over violations of its provisions, the

Bureau’s claims arise under Federal law, and the Bureau is a Federal agency plaintiff authorized

by statute to initiate this action. Each ground is apparent from the face of the Complaint.

        Fourth, Defendants are “covered persons” under the CFPA, and therefore subject to the

Bureau’s authority. Defendants’ status as “covered persons” is an element of the Bureau’s

claims—not, as Movants argue, an element of this Court’s subject matter jurisdiction. The

Complaint sufficiently alleges that Defendants are “persons” that acquire, purchase, and service

loans, and collect debts, and therefore are “covered persons” under the CFPA.

        Fifth, Defendants are liable for the acts and practices of their servicers. The Complaint

sufficiently alleges that Defendants’ servicers had actual or apparent authority from Defendants

to service loans and collect debt on Defendants’ behalf.

        Sixth, the Complaint was timely filed. The Ambac Movants have failed to show that the

allegations of the Complaint demonstrate that it is time-barred. The Ambac Movants’ argument

that the CFPA’s date-of-discovery limitations period began to run at the very outset of the

Bureau’s investigation is unsupported by the law.

                                               FACTS

        An investigation conducted by Plaintiff Consumer Financial Protection Bureau

(“Bureau”) into the loan servicing and debt collection practices of Defendants revealed that

between November 1, 2012, and April 25, 2016, Defendants, through their servicer, filed over

90,000 debt collection lawsuits in courts across the country against borrowers whose student

loans Defendants ostensibly owned. See D.I. 1, Compl. ¶ 24. Though filed by Defendants’


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servicer, the relevant Defendant Trusts were the named plaintiffs in every collection action. In

support of these lawsuits, Defendants’ servicer prepared notarized affidavits swearing to facts

necessary to demonstrate that Defendants owned the sued-upon debts. See id. ¶¶ 26-27. In

numerous instances, sworn representations contained in these affidavits were false. See id. ¶¶ 28-

39. Defendants’ servicer improperly notarized nearly every affidavit it produced from November

1, 2012, to August 3, 2014. See id. ¶¶ 44-51. And on hundreds of occasions, Defendants’ servicer

filed collections actions without possessing proof of Defendants’ ownership of the loans in

question, or filed actions beyond the applicable statutes of limitations. See id. ¶¶ 52-58. This

conduct represented, at a minimum, millions of dollars in harm to over two thousand consumers.

See id. ¶¶ 52-58. Defendants’ servicer engaged in this conduct for the benefit of Defendants. See

id. ¶¶ 17-18, 24. This conduct constituted deceptive and unfair acts and practices under the

CFPA. See id. ¶¶ 60-93.

       Following its investigation, the Bureau negotiated separate settlements with Defendants

and their current servicer, Intervenor TSI. The settlement with TSI was entered in a Bureau

administrative proceeding on September 18, 2017. See D.I. 303-2, Ambac Movs. Ex. 6, Doc.

2017-CFPB-0018. The settlement with Defendants was filed with this Court along with the

Complaint on September 18, 2017. See D.I. 3-1. Following this Court’s denial of the Bureau and

Defendants’ joint motion to approve the settlement, see D.I. 273, the Bureau has proceeded to

prosecute this action by serving Defendants with the Complaint, see D.I. 277-291. The Bureau




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filed an application for entry of default against Defendants after they failed to make any

responsive pleading or motion. See D.I. 295.2

                                           ARGUMENT

    I.      Movants Lack Standing to Bring Arguments on Defendants’ Behalf.

         As the Bureau has argued previously, see D.I. 306, 312, Movants’ attempts to stand in the

shoes of Defendants and litigate on their behalf violate the basic principal of prudential standing

that “a litigant assert his [or her] own legal interests rather than those of third parties.” UPS

Worldwide Forwarding, Inc. v. USPS, 66 F.3d 621, 626 (3d Cir. 1995) (citing Wheeler v.

Travelers Ins. Co., 22 F.3d 534, 538 (3d Cir. 1994) (internal citations and quotations omitted)).

         Movants are not defendants to this action. They and the other Intervenors are interested

third parties who were granted leave to challenge the sufficiency of the settlement reached

between the Bureau and the Defendant Trusts. The Intervenors’ success in that effort does not

convey on them (or any subset of them) the authority to defend this action. As the Court has

noted multiple times, the agreements that formed the Defendant Trusts and govern their

operations strictly provide for which parties may take what action on the Trusts’ behalf. See D.I.

272, Order Denying Mot. to Approve PCJ, at 2; D.I. 95, Order Granting Mots. to Intervene, at 1-

2. None of the Movants have presented any support for the notion that they are authorized to

speak for Defendants or bind them to any legal position. Movants lack prudential standing and




2 Defendants have not had counsel in this action since July 16, 2018. Certain Intervenors have
represented to the Court that Defendants are unable to obtain new counsel. However, certain
Defendants are represented by separate counsel in at least two pending proceedings brought
against them by consumers. See Brown v. Transworld Sys., Inc., No. 2:20-cv-00669-RSL, D.I.
52, Defendant Trusts’ Mem. in Supp. of Mot. to Dismiss (W.D. Wash. June 5, 2020); Michelo v.
Nat’l Collegiate Student Loan Tr. 2007-2, No. 1:18-cv-01781-PGG-BCM, D.I. 80, Defendants’
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the Court should deny their motions on this basis alone. TSI’s motion is especially problematic,

as TSI is judicially estopped from making the arguments it advances.3

    II.        The Bureau Can Prosecute this Enforcement Action After Seila Law v. CFPB.

          A.      Seila Law provides no basis to dismiss this enforcement action because it has
                  been approved by a Director fully accountable to the President.

          The Ambac Movants contend that Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020)—

holding that the provision in the CFPA purporting to limit the President’s authority to remove the

Bureau’s Director unconstitutionally impeded the President’s powers under Article II of the

Constitution—requires this Court to dismiss the Bureau’s Complaint. It does not.

          In Seila Law, the Court held that the unconstitutional removal provision could be severed

from the rest of the statute, and that the Bureau could “continue to operate” with a Director who

is now “removable by the President at will.” Id. at 2192. After Seila Law, Bureau Director

Kraninger, who is now fully accountable to the President, ratified the decision to file the

Complaint in this case. See D.I. 308-1. As the Bureau explained in its notice regarding that

ratification, in the wake of Seila Law, the Bureau’s Director considered the basis for the decision

to file the Complaint in this proceeding before formally ratifying that decision. See D.I. 308.

What this means is that this matter now continues with the express approval of a Director who is

fully accountable to the President.

          That ratification cured any problem with the initial filing and prosecution of this case. It

is well established—in the Third Circuit and other circuits—that ratification by an official



3TSI stipulated to the Bureau’s subject matter jurisdiction in the September 15, 2017 Consent
Order. See Ambac Movs. Ex. 6, at 1-2. TSI’s current argument that the Bureau lacks subject
matter jurisdiction under 12 U.S.C. § 5565 is plainly inconsistent with the stipulations and
admissions it made in the administrative proceeding. The Court should find that TSI is judicially
estopped from taking such contradictory positions. See Motley v. N.J. State Police, 196 F.3d 160,
163 (3d Cir. 1999).


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unaffected by a constitutional problem can “cure” a constitutional problem with an agency action

initially taken by an official whose authority was in doubt. Advanced Disposal Servs. E., Inc. v.

NLRB, 820 F.3d 592, 602-606 (3d Cir. 2016) (holding that ratification by properly appointed

officials “adequately addressed” the constitutional problem with action initially approved by

official appointed by Board that included members appointed in violation of Article II ) 4; see

also, e.g., CFPB v. Gordon, 819 F.3d 1179, 1190-91 (9th Cir. 2016) (concluding that ratification

by properly appointed official “cured any Article II deficiencies” with enforcement action’s

initial approval by official appointed in violation of Article II); FEC v. Legi-Tech, Inc., 75 F.3d

704, 709 (D.C. Cir. 1996) (concluding that ratification of an enforcement action by properly

constituted Federal Election Commission was “an adequate remedy” for action’s initial approval

by unconstitutionally constituted Commission).

       The D.C. Circuit’s decision in FEC v. Legi-Tech is particularly instructive. Before Legi-

Tech, the D.C. Circuit had held in FEC v. NRA Pol. Victory Fund that the FEC was

unconstitutionally structured because it included congressional members, and, being “aware of

no theory” that would allow it to do otherwise, dismissed the judgment. 6 F.3d 821, 827-28 (D.C.

Cir. 1993), cert. dismissed, 513 U.S. 88 (1994). Shortly after that decision, the FEC reconstituted

itself without the congressional members. It then ratified its ongoing enforcement actions,

including one against Legi-Tech. Legi-Tech argued, however, that it was entitled to dismissal

because, when the FEC had issued its complaint, it was still unconstitutionally structured. The

D.C. Circuit disagreed. Instead, it held that dismissal was “neither necessary nor appropriate”


4 Advanced Disposal also sets out the “general requirements” for ratification in this circuit. 820
F.3d 592 at 602-603. The ratifier must have the authority to act at the time of the ratification,
must have “full knowledge of the decision to be ratified,” and “must make a detached and
considered affirmation of the earlier decision.” Id. at 602. The Director’s declaration establishes
that these standards have been met. D.I. 308-1.


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because the ratification by the properly constituted FEC was an “adequate remedy” for the

constitutional problem with the initial complaint. Legi-Tech, 75 F.3d at 708-09. Thus, it allowed

the FEC to continue with its enforcement action without having “to return to square one.” Id. at

708.

        The situation here is very similar to Legi-Tech. When the Bureau filed its Complaint

against Defendants, the for-cause removal provision still purported to limit the President’s ability

to remove the Bureau’s Director. But after Seila Law invalidated the removal restriction, the

Bureau’s Director ratified this action. Now this action is going forward under the supervision of

a Director directly responsible to the President. This approval by an official fully accountable to

the President ensures that the President has the authority that Article II demands, and it cures any

constitutional problem with the filing of the Complaint by an official insufficiently answerable to

him. Indeed, dismissing this lawsuit after an official fully accountable to the President has

approved it would undermine, not respect, the executive authority that Article II protects.

       The Ambac Movants argue here that this action must be dismissed irrespective of the

Director’s ratification because “there must be a remedy.” Ambac Movs. Br. at 13.5 They ignore

the simple fact that the ratification itself provides the remedy for the Constitutional violation: A


5As the Ambac Movants point out, Ryder v. United States, 515 U.S. 177 (1995), and Lucia v.
SEC, 138 S. Ct. 2044 (2018), both hold that parties who bring successful separation-of-powers
challenges are entitled to an “appropriate” remedy. Ryder, 515 U.S. at 182-83 (“[O]ne who
makes a timely challenge to the constitutional validity of the appointment of an officer who
adjudicates his case is entitled to a decision on the merits of the question and whatever relief may
be appropriate if a violation indeed occurred.”); accord Lucia, 138 S. Ct. at 2055. But in both
cases—which involved adjudications presided over by officers who had been unconstitutionally
appointed—the appropriate remedy was a “new ‘hearing before a properly appointed’ official.”
Lucia, 138 S. Ct. at 2055 (quoting Ryder, 515 U.S. at 183, 188). Here, of course, the “hearing” is
not at issue because it is being conducted by this Court, not by any officer whose appointment is
subject to challenge. What Defendants call into question is the issuance of the Complaint. Thus,
consistent with Ryder and Lucia, all that the Defendants are entitled to is a new decision by a
properly accountable official on whether to file that Complaint. They have gotten exactly that.


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Director who is indisputably accountable to the President has authorized the prosecution of this

action. Because the removal provision has been severed, the Ambac Movants have received

exactly what they claimed was initially lacking—a decision by an official fully accountable to

the President on whether to pursue the action against them. Not surprisingly, the Ambac Movants

would prefer that Defendants not be required to answer for the violations of law alleged in the

Bureau’s Complaint. But that hardly means that the Ambac Movants and Defendants have been

denied an appropriate remedy.

       The Ambac Movants do not cite any authority holding that dismissal is required in these

circumstances—where the constitutional problem has been fixed and an official unaffected by

the constitutional violation has confirmed the action should go forward. They cite Bandimere v.

SEC, 844 F.3d 1168, 1188 (10th Cir. 2016), and Noel Canning v. NLRB, 705 F.3d 490, 514 (D.C.

Cir. 2013), aff’d. 573 U.S. 513 (2014). See Ambac Movs. Br. at 12. But neither of those cases

involved enforcement proceedings that had been ratified by officials unaffected by the relevant

constitutional violation. See Bandimere, 844 F.3d at 1188 (setting aside final order in SEC

administrative adjudication because administrative law judge who had presided over the hearing

had been unconstitutionally appointed); Noel Canning, 705 F.3d at 514 (vacating NLRB decision

because members of Board had been appointed in violation of Appointments Clause). Besides,

the enforcement proceedings in Bandimere and Noel Canning were not dismissed outright, but

continued before constitutionally appointed decision makers on remand. Bandimere, Securities

Act Release No. 10728, 2019 WL 6324287 (Nov. 22, 2019); Noel Canning, 361 NLRB No. 129,

2014 WL 7189095 (Dec. 16, 2014). And, indeed, the Third Circuit later held that actions taken

by officials affected by the very Appointments Clause violation that Noel Canning identified

were valid once ratified by properly appointed officials. Advanced Disposal, 820 F.3d at 606.




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The Ambac Movants also cite the unpublished decision in Benjamin v. V.I. Port Authority, 684

Fed. Appx. 207 (3d Cir. 2017), see Ambac Movs. Br. at 12, which dismissed a corporation’s

lawsuit approved by a committee that lacked authority to act for the corporation under Virgin

Islands corporate law. But that case held that an action filed by officials who lacked authority

had to be dismissed only because (unlike here) it had not been validly ratified. Id. at *212.6

       Courts which have considered the specific issue now before this Court—whether a

Bureau law enforcement action could continue under the leadership of an official fully

accountable to the President—have concluded that enforcement actions may proceed in such

circumstances. PHH Corporation v. CFPB, 839 F.3d 1, 39 (D.C. Cir. 2016) (Kavanaugh, J.)

(remanding for administrative enforcement proceeding to continue before agency led by Director

removable at will), rev’d on other grounds en banc, 881 F.3d 75 (D.C. Cir. 2018); CFPB v.

Navient, No. 3:17-cv-101, 2017 WL 3380530, at *19 (M.D. Pa. Aug. 4, 2017) (holding, before

Seila Law, that if removal provision were found unconstitutional and severed, that “would not

affect the CFPB’s ability to maintain the present suit”); CFPB v. D & D Mktg., No. cv 15-9692,

2016 WL 8849698, at *5 (C.D. Cal. Nov. 17, 2016) (holding that “[t]he CFPB may continue …

the prosecution” of case filed by Director unconstitutionally insulated from presidential removal

once its Director is “subject to direct removal”).




6 The Ambac Movants also rely on other decisions from far afield which on their face have no
application to the Bureau Director’s ratification at issue here. See Ambac Movs. Br. at 13-14.
Ringling v. City of Hempstead, 193 F. 596 (5th Cir. 1911), if it has continuing force, addresses
only the very different question of whether a state statute can ratify the disincorporation of a
municipality after the state statute conferring authority for the municipal disincorporation has
been declared unconstitutional. See id. at 600. And Stern v. Marshall, 564 U.S. 462 (2011),
simply held that bankruptcy judges not subject to Article III’s tenure and salary protections
lacked authority to enter judgment on a common law tort claim. See id. at 487.


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       The district court’s decision in CFPB v. RD Legal Funding, 332 F. Supp. 3d 729, 785

(S.D.N.Y. 2018), appeal pending, No. 18-3156 (2d Cir.), does not cast doubt on these other

courts’ unanimous conclusion. The district court in RD Legal Funding concluded that the

unconstitutional removal restriction required a Bureau enforcement action to be dismissed even

though an acting Director fully accountable to the President had ratified it. But that ratification

did not cure the problem in that court’s view because that court also concluded—contrary to

what the Supreme Court has now held in Seila Law—that the provision was not severable and

thus that the whole of the Bureau’s statute was invalid. Id. at 784; but see Seila Law, 140 S. Ct.

at 2192 (holding that removable provision is severable). The RD Legal Funding court did not

conclude that a Bureau that was properly headed by an official removable at will could not ratify

an enforcement action.

       B.      The statute of limitations does not render the Director’s ratification invalid.

       The Ambac Movants separately argue that the ratification by the Bureau’s fully

accountable Director cannot be effective because the statute of limitations has now run on the

CFPA violations alleged in the Complaint. See Ambac Movs. Br. at 14-16. This heads-I-win-

tails-you-lose argument is simply wrong. The CFPA’s statute of limitations provides that,

“[e]xcept as otherwise permitted by law or equity, no action may be brought under [the CFPA]

more than 3 years after the date of discovery of the violation to which an action relates.” 12

U.S.C. 5564(g)(1). The Ambac Movants are wrong to claim that even though the Bureau

attempted to prosecute its claims in a manner consistent with the CFPA, the statute of limitations

in this case not only began to run, but, in fact, expired before the Bureau could ever lawfully file

suit. That is, the Ambac Movants argue that the CFPA should be interpreted so that, prior to

Seila Law, the Bureau could “discover” violations of the CFPA and begin the ticking of the

statute of limitations clock, but could not file a complaint before that clock expired.


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        The Ambac Movants do not cite any case in which a statute of limitations was construed

to run before a party (let alone the federal government) could lawfully file suit and obtain relief.

Cf. Johnson v. United States, 544 U.S. 295, 305 (2005) (calling it “highly doubtful” that

Congress intended a time limit on pursuing a claim to expire before the claim arose); Bay Area

Laundry & Dry Cleaning Pension Tr. Fund v. Ferbar Corp. of Cal., 522 U.S. 192, 201 (1997)

(absent some contrary indication in statute, limitations period ordinarily does not begin to run

until “the plaintiff can file suit and obtain relief”). This is not surprising. “Statutes of limitations

are designed to encourage plaintiffs to pursue diligent prosecution of known claims.” Cal. Pub.

Employees’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042, 2049 (2017) (internal quotation omitted).

That goal is satisfied here, and nothing in the CFPA suggests that Congress intended to time-bar

suits that are filed within the statutory time limit but not approved by a Director removable at

will until after the time limit passed.

        Moreover, the CFPA’s statute of limitations applies “[e]xcept as otherwise permitted by

law or equity . . . .” 12 U.S.C. 5564(g)(1). Here, equity surely permitted the Bureau, now that it

is led by a Director who is removable by the President at will, to ratify claims it had already

brought during the limitations period. Indeed, courts have equitably tolled the application of a

statute of limitations where “the claimant has actively pursued his judicial remedies by filing a

defective pleading during the statutory period.” Irwin v. Dep’t of Veterans Affairs, 498 U.S. 89,

96, 96 nn.3-4 (1990); see D.J.S.-W. v. United States, 962 F.3d 745, 750-51 (3d Cir. 2020)

(equitable tolling is appropriate if the plaintiff has pursued its rights diligently, and some

extraordinary circumstance prevented timely filing). This is because statutes of limitations

“assure fairness to defendants” and “promote justice by preventing surprises through the revival

of claims that have been allowed to slumber until evidence is lost, memories have faded, and




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witnesses have disappeared.” Island Insteel Sys., Inc. v. Waters, 296 F.3d 200, 215–16 (3d Cir.

2002) (quoting Burnett v. N.Y. Cent. R.R. Co., 380 U.S. 424, 428 (1965)). Allowing the Bureau

to continue to prosecute its claims after the Director’s ratification risks no unfair surprise or other

injustice to Defendants or the Ambac Movants. That result, moreover, is wholly consistent with

the Third Circuit’s teaching that, “as an equitable remedy,” ratification should be “applied

flexibly and . . . adapted to deal with unique and unusual circumstances.” Advanced Disposal,

820 F.3d at 603–04.

        The common law agency rules that the Ambac Movants cite, see Ambac Movs. Br. at 14,

do not cast doubt on the Bureau’s ability to proceed with the action here. Under those rules, a

ratification of a lawsuit in certain circumstances may not be effective if it comes after the

relevant statute of limitations has expired. See, e.g., Restatement (Third) of Agency § 4.05 &

Reporter’s Note e (citing split of authority on the point). This rule is irrelevant here because the

CFPA’s statute of limitations has not expired: For all the reasons set forth above, that limitations

provision was satisfied or tolled when the Bureau filed this suit within the statutory time limit. 7

The Ambac Movants can point to nothing in the CFPA’s text, structure, or purposes suggesting

that Congress intended for the statute of limitations to be interpreted to grant them immunity

from the Bureau’s diligent enforcement of the consumer laws.




7 In this respect, this case is distinguishable from FEC v. NRA Pol. Victory Fund, 513 U.S. 88
(1994), which involved a different statutory time limit. There, the Court concluded that the 90-
day jurisdictional time limit on petitioning for certiorari was not satisfied where an agency filed a
petition within the time limit, but without the statutorily-required approval that the Solicitor
General could have given within the 90-day period but did not. Id. at 98-99. That conclusion
sheds no light on whether Congress intended for the CFPA’s statute of limitations to be satisfied
or tolled when the Bureau takes every step that it could possibly take and files an enforcement
action within the specified time limit, just without the approval of a Director removable at will.


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    III.        The Court Has Subject Matter Jurisdiction Over This Action.

           Movants ask the Court to dismiss this action under Rule 12(b)(1) for lack of subject

matter jurisdiction, arguing that the Court lacks jurisdiction because Defendants are not “covered

persons” as defined in the CFPA. See Ambac Movs. Br. at 16-20; TSI Br. at 5-6. Movants are

incorrect. First, the Complaint asserts three independent grounds for the Court’s subject matter

jurisdiction, all of which are valid. Second, Movants have not actually challenged this Court’s

subject matter jurisdiction at all, but rather the sufficiency of the Bureau’s allegations.

           A.      The Complaint pleads three valid grounds for subject matter jurisdiction.

           Three independent grounds for the Court’s subject matter jurisdiction are pled on the face

of the Complaint. See Compl. ¶ 4. First, the Complaint pleads jurisdiction under the explicit

grant Congress included in the CFPA itself at 12 U.S.C. § 5565(a)(1). The Complaint alleges

four counts of deceptive acts or practices and one count of unfair acts or practices under the

CFPA. See Compl. ¶¶ 60-94 (citing 12 U.S.C. §§ 5531, 5536(a)(1)(B)). The prohibition against

deceptive and unfair acts or practices is a “Federal consumer financial law.” See 12 U.S.C.

§ 5481(14). Therefore, by an explicit grant from Congress, this Court has jurisdiction to

adjudicate the Bureau’s claims.

           The Complaint also pleads jurisdiction under 28 U.S.C. § 1331, which gives district

courts “original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of

the United States.” Here, the only claims alleged in the Complaint “arise under” the CFPA, a

Federal statute. The Court’s jurisdiction under Section 1331 is thus apparent from the face of the

Complaint. See Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 808 (1986).

           Finally, the Complaint pleads jurisdiction under 28 U.S.C. § 1345, which gives Federal

district courts “original jurisdiction of all civil actions, suits or proceedings commenced by the

United States, or by any agency or officer thereof expressly authorized to sue by Act of


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Congress.” Congress expressly authorized the Bureau to bring suit for violations of Federal

consumer financial law. See 12 U.S.C. § 5564(a); Compl. ¶¶ 60-94. Thus jurisdiction lies over

the Bureau’s claims because it is a Federal agency empowered by Congress to bring them.

       The Court may end its inquiry here, as the elements of all three grounds pleaded in the

Complaint have been satisfied. Moreover, as shown below, the one argument Movants advance

does not, in fact, draw the Court’s subject matter jurisdiction into question.

       B.      Defendants’ status as “covered persons” is an element of the Bureau’s claims,
               not the Court’s subject matter jurisdiction.

       Both the Ambac Movants and TSI cite to the Supreme Court’s decision in Arbaugh v.

Y&H Corp. to argue the Court lacks subject matter jurisdiction because Defendants are not

“covered persons” under the CFPA. TSI’s brief cites the case for the general proposition that a

party may raise subject matter jurisdiction at any time. See TSI Br. at 3. The Ambac Movants’

brief only cites the opinion syllabus. See Ambac Movs. Br. at 10, 16 (citing 546 U.S. 500, 501

(2006)). But the first sentence of the opinion explains that it is concerned with “the distinction

between two sometimes confused or conflated concepts: federal-court ‘subject-matter’

jurisdiction over a controversy; and the essential ingredients of a federal claim for relief.” See

Arbaugh, 546 U.S. at 503. Movants’ briefs suffer from this very confusion.

       To determine whether a statutory requirement is jurisdictional, courts consider several

factors, including: (1) whether Congress explicitly labels the requirement as jurisdictional,

(2) whether the statute’s structure demonstrates that the requirement is jurisdictional, and

(3) whether prior case law compels the court to conclude the requirement is jurisdictional. See

Reed Elsevier Inc. v. Muchnick, 559 U.S. 154, 162-63 (2010) (citing Arbaugh, 546 U.S. at 515-

16). Under this test the “covered person” requirement in the CFPA is not jurisdictional.




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       The CFPA provides that “[i]t shall be unlawful for any covered person . . . to engage in

any unfair, deceptive, or abusive act or practice.” 12 U.S.C. § 5536(a)(1)(B). Here, the Bureau

alleges that Defendants are covered persons and that they have engaged in deceptive and unfair

acts or practices. See Compl. ¶¶ 8, 62-93. The CFPA defines a “covered person” as “any person

that engages in offering or providing a consumer financial product or service.” 12 U.S.C.

§ 5481(6)(A). The definition of “covered person” makes no mention of jurisdiction, and

therefore does not meet the first factor. See Arbaugh, 546 U.S. at 515; Muchnick, 559 U.S. at

163.

       The CFPA’s jurisdictional grant does not reference the covered person definition. See 12

U.S.C. § 5565(a)(1). Indeed, the Bureau can bring an action under Federal consumer financial

law against “any person,” not merely “covered persons.” See 12 U.S.C. § 5564(a). Nor does the

structure of the CFPA link the jurisdictional provision with the covered person provision. The

latter appears in a general definitions section, see generally 12 U.S.C. § 5481, while the former

appears in the subpart of the CFPA that delineates the Bureau’s enforcement powers, see

generally 12 U.S.C. §§ 5561-5567. This is logical, as the covered person definition is applicable

to several aspects of the Bureau’s regulatory authority, while the jurisdiction provision is specific

to the Bureau’s enforcement authority. Thus, the covered person requirement does not meet the

second factor. See Arbaugh, 546 U.S. at 515, Muchnick, 559 U.S. at 164-65.

       Finally, Movants cite no precedents treating the covered person requirement as

jurisdictional “even absent a jurisdictional label.” Muchnick, 559 U.S. at 168 (internal quotations

omitted); see also Fort Bend Cty., TX v. Davis, 139 S.Ct. 1843, 1849 (2019) (“[T]he Court has

stated it would treat a requirement as ‘jurisdictional’ when ‘a long line of [Supreme] Cour[t]

decisions left undisturbed by Congress’ attached a jurisdictional label to the prescription.”)




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(internal citations omitted). Indeed, Movants have not cited to any authority interpreting the

covered person requirement of the CFPA. See, e.g., CFPB v. ITT Educ. Servs., Inc., 219 F. Supp.

3d 878, 907-13 (S.D. Ind. 2015) (analyzing covered person requirement under Rule 12(b)(6)).

Thus, there is nothing like the kind of clear line of precedent needed for the covered person

requirement to meet the third test.

          Movants’ argument that Defendants are not “covered persons” under the CFPA does not

implicate this Court’s fundamental power to hear this case, but instead addresses whether the

Bureau can make out an element of its claims under Rule 12(b)(6). See Arbaugh, 546 U.S. at 516

(“[W]e hold that the threshold number of employees for application of Title VII is an element of

a plaintiff’s claim for relief, not a jurisdictional issue.”); Muchnick, 599 U.S. at 166 (“Section

411(a) thus imposes a type of precondition to suit that supports nonjurisdictional treatment under

our precedents.”).

    IV.      The Complaint Properly Alleges That Defendants Are Covered Persons and
             That They Are Liable for the Conduct of Their Servicers.

          To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged. Id. at 556. The plausibility standard is not akin to a “probability

requirement, but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). The Court is “required to accept

as true all allegations in the complaint and all reasonable inferences that can be drawn from them

after construing them in the light most favorable to the non-movant.” Foglia v. Renal Ventures

Mgmt., LLC, 754 F.3d 153, 154 n.1 (3d Cir. 2014).



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       A.      The Complaint properly alleges that the Trusts are “covered persons.”

       Movants’ make two arguments for dismissal under Rule 12(b)(6). First, as explained in

Section III.B, supra, Movants argue that the Complaint does not sufficiently plead that

Defendants are “covered persons” under the CFPA. See Ambac Movs. Br. at 16-20; TSI Br. at 4-

6. Second, the Ambac Movants argue that the Complaint does not properly allege that

Defendants can be held liable for the conduct of their servicers. See Ambac Movs. Br. at 22-25.

The Complaint should not be dismissed as a matter of law because the allegations establish both

that Defendants are “covered persons” and that they are liable for the alleged violations.

       Under the CFPA, a “covered person” is (1) a person that (2) offers or provides a

consumer financial product or service. See 12 U.S.C. § 5481(6)(A). The Complaint alleges

sufficient facts to satisfy both elements of this definition. The CFPA defines “person” as “an

individual, partnership, company, corporation, association (incorporated or unincorporated),

trust, estate, cooperative organization, or other entity.” 12 U.S.C. § 5481(19) (emphasis added).

The Complaint alleges that Defendants are 15 statutory trusts organized under the laws of the

Delaware. See Compl. ¶¶ 9, 11. The Delaware Statutory Trust Act (“DSTA”), under which

Defendants were organized, provides that a “statutory trust” is an “unincorporated association.”

12 Del. C. § 3801(g). The Complaint properly alleges that Defendants are “persons” within the

meaning of the CFPA, whether as “trusts,” “unincorporated associations,” or both.

       The CFPA provides multiple definitions for the offering or provision of consumer

financial products or services, including “acquiring, purchasing,” and “servicing loans,” and

“collecting debt related to any consumer financial product or service.” 12 U.S.C.

§ 5481(15)(A)(i), (x). Here, the Complaint alleges that Defendants engage in acquiring and




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servicing consumer loans and the collection of debts. 8 See Compl. ¶¶ 2-3, 8, 10, 12-14, 18-23.

The Complaint specifically alleges how Defendants, through their servicers, engaged in the

collection of debts by filing collections lawsuits against consumers. See id. ¶¶ 24, 43, 52, 54, 55,

58. The Complaint properly alleges that Defendants engage in the offering or provision of

consumer financial products or services within the meaning of the CFPA.

       B.      Movants’ arguments that Defendants are not “covered persons” as a matter
               of law are unpersuasive .

       Movants make two arguments for why Defendants are not “covered persons.” First, they

argue that Defendants cannot, as a matter of law, “engage in” any activity because the Trusts are

merely passive entities that cannot literally do anything. See Ambac Movs. Br. at 17-19; TSI Br.

at 5-6. Second, they hold up snippets of the CFPA’s legislative history as proof that Congress

never intended for passive entities to be covered by the CFPA. See Ambac Movs. Br. at 19-20.

Neither argument is persuasive.

               1.      Defendants acquire, service, and collect on student loans.

       The DSTA defines statutory trusts as “unincorporated associations . . . under which

property is or will be held, managed, administered, . . . or business or professional activities for

profit are carried on or will be carried on, by a trustee or trustees or as otherwise provided in the

governing instrument.” 12 Del. C. § 3801(g)(1). In other words, a Delaware statutory trust is, by




8 The Ambac Movants assert that the Complaint only alleges that Defendants engage in
“servicing loans” and “collecting debt,” see Ambac Movs. Br. at 17 (citing Compl. ¶ 61), but
ignore the allegation that Defendants engage in the “acquiring” and “purchasing” of loans, see
Compl. ¶¶ 8, 10. And contrary to TSI’s argument, the CFPA does not require that a person both
“extend[] credit and servic[e] loans” to provide a financial product or service. See TSI Br. at 4
n.6 (quoting 12 U.S.C. § 5481(15)(A)(i)). Such an interpretation would create an absurd gap in
the Bureau’s regulatory authority, which the interpretive canon TSI relies on cannot support. See
RD Legal Funding, 332 F. Supp. 3d at 766-67.



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definition, an entity whose business activities will be carried on by another. According to

Movants’ argument, this would make entities such as the Defendant Trusts immune from suit

since the trusts themselves do not “carry on” any conduct. But the DSTA provides that a

statutory trust can “sue and be sued,” and may be sued for “liabilities contracted or incurred by

the trustees or other authorized persons, or by the duly authorized agents of such trustees or other

authorized persons, in the performance of their respective duties.” 12 Del. C. § 3804(a).9

       Accordingly, courts have recognized certain Trust Defendants as proper defendants in

other litigation. See, e.g., Michelo v. Nat’l Collegiate Student Loan Tr. 2007-2, 419 F. Supp. 3d

668, 700-706 (S.D.N.Y 2019); Kwang Kim v. Wilmington Tr. Co., No. 17CV528-WQH-AGS,

2018 WL 4296983, at *8 (S.D. Cal. Sept. 7, 2018); Foster v. Nat'l Collegiate Student Loan Tr.

2007-4, No. 01-17-00253-CV, 2018 WL 1095760, at *1 (Tex. App. Mar. 1, 2018). And, of

course, the individual Defendants are the named plaintiff in thousands of debt collection actions

in courts throughout the country. See, e.g., Nat'l Collegiate Student Loan Tr. 2004-1 v. Ogunbiyi,

123 N.E.3d 563 (Ill. App. Ct. 2018); Nat'l Collegiate Student Loan Tr. 2007-2 v. Kuzma, 187 So.

3d 91 (La. Ct. App. 2016); Lovette v. Nat'l Collegiate Student Loan Tr. 2004-1, 149 So. 3d 735

(Fla. Dist. Ct. App. 2014). Despite the Ambac Movants’ one-sentence dismissal of the

significance of this litigation activity, see Ambac Movs. Br. at 19 n.17, there is nothing

contradictory about the Bureau’s allegations that Defendants engage in debt collection and that

they do so through their servicers.




9 As commentators have noted, this is a departure from historical trust law. See Allen S.
Gutterman, Business Transactions Solutions § 71:36 (2020) (“While at common law suits against
a business trust needed to be brought against its trustees, rather than against the trust, it is now
generally recognized that actions may be brought against a business trust as an entity.”)



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        The Bureau’s allegations are also consistent with the text of Defendants’ governing

documents.10 In fact, the Indenture for each Trust speaks directly to the very issue now before the

Court, providing:

        Although the Issuer will contract with other Persons to assist it in performing its
        duties under this Indenture, any performance of such duties by a Person identified
        to the Indenture Trustee in an Officers’ Certificate of the Issuer shall be deemed
        to be action taken by the Issuer. Initially, the Issuer has contracted with the
        Servicers and the Administrator to assist the Issuer in performing its duties under
        this Indenture.

D.I. 228, Ex. 3, NCSLT 2006-4 Indenture § 3.07(b) (emphases added). 11 The Indenture further

provides that “[t]he Issuer shall act solely in its own name and through its duly authorized

officers or agents in the conduct of its business,” id. § 3.23(e), and that “[a]ll actions of the Issuer

shall be taken by a duly authorized officer or agent of the Issuer.” Id. § 3.23(g). Thus, according

to the Indentures, the Trusts are engaged in loan servicing because the actions of their loan

servicers, such as Movant PHEAA, are deemed to be the actions of the Trusts.

        The Trust Agreement contains similar language, for example, providing that:

        The purpose of the Trust is to engage in the following activities:

        (i) To acquire a pool of Student Loans, to execute the Indenture and to issue the
        Notes;
        (ii) To enter into the Trust Related Agreements and to provide for the
        administration of the Trust and the servicing of the Student Loans;



10The Court may consider items appearing in the record. AAMCO Transmissions, Inc. v.
Romano, 42 F. Supp. 3d 700, 710 (E.D. Pa. 2014) (“A court may ‘consider matters of public
record, orders, exhibits attached to the complaint and items appearing in the record of the
case.’”) (quoting Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1384 n.2 (3d Cir.
1994). The Indenture and Trust Agreement have both been filed with the Court. See D.I. 228,
303-3.
11Under each Indenture the term “Issuer” is used to refer to each respective Defendant Trust for
which that Indenture was created. See D.I. 228, Ex. 3 at 68. The “Servicers” referenced in this
provision are defined as: “[PHEAA] . . . and any other loan servicer . . . .” Id. at 74.



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          (iii) To engage in those activities and to enter into such agreements that are
          necessary, suitable or convenient to accomplish the f oregoing or are incidental
          thereto or connected therewith; and
          (iv) To engage in such other activities as may be required in connection with
          conservation of the Trust Property and Distributions to Owners.

See Ambac Movs. Ex. 7, Trust Agreement § 2.03(a) (emphases added). 12 It goes on to provide

that “the Trust will act solely in its own name and the Owner Trustee or other agents selected in

accordance with this Agreement will act on behalf of the Trust . . . .” Id. § 2.03(b)(i) (emphasis

added). It therefore is not the Bureau’s allegations, but Movants’ argument, that is out of step

with the plain language of the controlling law, actual practice, and governing contracts.

          Finally, the cases the Ambac Movants cite in support of their position are inapposite.13

First, none of them interpret the CFPA, but instead pass upon language in three vastly different

statutes, none of which bears any resemblance to the CFPA in structure or purpose. See Ambac

Movs. Br. at 18 (citing United States v. Graham, 305 F.3d 1094, 1097 (10th Cir. 2002)

(interpreting 18 U.S.C. § 842); Freund v. Republic of France, 592 F. Supp. 2d 540, 553

(S.D.N.Y. 2008) (interpreting 28 U.S.C. § 1605); Zarra v. Sun Sentinel Co., No. 12-60542-CIV,

2012 WL 5306368, at *2 (S.D. Fla. Oct. 29, 2012) (interpreting 29 U.S.C. § 213)). The Graham

and Zarra cases are particularly inapposite since they examine the application of the relevant

statutory language to individuals. See Graham, 305 F.3d at 1097; Zarra, 2012 WL 5306368, at

*1. Movants make no attempt to explain how the relatively commonplace term “engage in” as

used in these three statutes provides any guidance to the Court in interpreting the “covered

person” definition in the CFPA.



12 The Ambac Movants attempt to waive away this language in the Trust Agreement by only
quoting a small part of it and claiming that the only relevant activity described in this provision
is “contracting for the loans to be serviced by others.” Ambac Movs. Br. at 18 n.16.
13   TSI’s brief cites no cases to support its position.


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       The Freund case does apply statutory language to an entity, but the opinion makes plain

that a legal entity can “engage in” an activity vicariously. The relevant question before the

Freund court was whether an agency of the French government— “CDC”—was “engag[ing] in a

commercial activity in the United States.” See id. at 556. Plaintiffs argued it was by alleging that

subsidiaries of CDC engaged in commercial activity in the US. See id. But the court found that

the allegations did not demonstrate either an agency relationship between CDC and the

subsidiaries, or that the subsidiaries were alter-egos of CDC. See id. at 557-59; see also id. at

557-58 (discussing Supreme Court cases applying “law of private corporations” to determine

applicability of commercial activity exemption). Here, as the Bureau will show, the conduct of

Defendants’ servicers can be attributed to Defendants vicariously, and so Freund, if applicable at

all, supports the conclusion that the Trusts can engage in the offering or provision of consumer

financial products or services through agents or servicers.

               2.      The CFPA’s legislative history offers no support to Movants.

       Movants largely ignore the text of the CFPA and instead grasp at straws in its legislative

history. Typically, statutory construction begins by looking to the plain language of the act in

question. See Krieger v. Bank of Am., N.A., 890 F.3d 429, 438 (3d Cir. 2018) (citing Sebelius v.

Cloer, 569 U.S. 369, 376 (2013)). Recourse to legislative history is reserved for circumstances

where the text at issue is ambiguous. See United States v. Kouevi, 698 F.3d 126, 133 (3d Cir.

2012); In re Washington Mut., Inc., 419 B.R. 271, 277 (Bankr. D. Del. 2009). Movants’ briefs do

not argue or even suggest that there is any ambiguity in any of the provisions relevant here.

       Even if it were appropriate to examine the CFPA’s legislative history, Movants’ citations

are irrelevant to the question their briefs pose. Both briefs quote a passage from the report issued

by the Senate committee that drafted the Dodd-Frank Act of 2010, of which the CFPA was one

part. See TSI Br. at 5 n.2 (quoting S. Rep. No. 111-176, at 160 (2010)); Ambac Movs. Br. at 20


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(same). But this passage addresses the meaning of “consumer financial products and services,”

not “covered person.” TSI quotes the explanation that acting as a fiduciary or creating a trust are

not consumer financial products or services because they are not for consumers’ personal use.

See TSI Br. at 5 n.2. But the CFPA provides that acquiring and servicing loans or collecting debt

“in connection with” financial products used by consumers for personal purposes—e.g., student

loans—are consumer financial products or services. See 12 U.S.C. § 5481(5)(B).14 The Ambac

Movants point to the Committee’s explanation that “insurance or securities activities” are not

“consumer financial products and services,” but this exclusion is irrelevant to the Bureau’s

claims here, which do not address any “securities activities” Defendants engage in.

       The Ambac Movants also cite a Treasury Department white paper written before the

passage of the CFPA outlining what the Bureau’s enforcement authority might look like. See

Ambac Movs. Br. at 20 n.18 (quoting Ambac Movs. Ex. 9 at 57). The cited passage is generic

and does not address what or who should be excluded from the scope of the CFPA, nor does it

reflect congressional intent given that it was not authored by any part of Congress.

       C.      The Complaint states a claim based on an agency theory of liability.

       Accepting all factual allegations as true and taking all reasonable inferences in the light

most favorable to the Bureau, the Complaint against Defendants, based upon agency liability, is


14More relevant congressional intent is expressed by the Committee when it notes that
“mortgage servicers typically provide services to the owners of the mortgages. Nonetheless, this
service is included in the definition of ‘consumer financial product or service’ because of its
obvious impact on consumers.” S. Rep. No. 111-176, at 159-60. And the Committee also
explained that it saw a need to ensure coverage of service providers because, “[w]ithout such
authority, covered persons could remove many important functions that bear directly on
consumers from the CFPB’s oversight simply by contracting those functions out to service
providers, thereby escaping the jurisdiction of the CFPB and leading to significant regulatory
arbitrage.” Id. at 161. Thus, Congress was concerned to ensure that entities could not shield
themselves from the CFPA’s proper coverage through ingenious contractual arrangements.



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sufficient to survive the Ambac Movants’ motion to dismiss. A plaintiff “must allege facts

sufficient to allow [an agency] relationship to be proven at trial, but it is not required to have

extensive proof at the complaint stage.” Jurimex Kommerz Transit G.M.B.H. v. Case Corp., 65

F. App’x 803, 808 (3d Cir. 2003); see also British Telecomms. PLC v. IAC/InteractiveCorp., 356

F. Supp. 3d 405, 410 (D. Del. 2019).15

       Here, the Complaint alleges plausible claims for relief against the Defendants under an

agency theory of vicarious liability. The basic purpose of each Trust is to acquire a pool of

private student loans, execute the indentures and issue notes secured by the pools of student

loans, enter into trust-related agreements, and provide for the administration of the Trusts and the

servicing and collection of student loans. See Compl. ¶ 10. All actions relating to the

administration of the Trusts, servicing of the student loans, and collecting debt are carried out by

Defendants’ Servicers. See id. ¶ 12, 18. Defendants’ Servicers are any Servicer, Primary

Servicer, Subservicer, Special Servicer, Administrator, and any other individual or entity acting

on behalf of the Trusts with respect to the servicing and collection of the student loans owned by

the Trusts, whether retained directly by Defendants or retained by an individual or entity acting

on behalf of Defendants. See id. ¶ 13. The Complaint alleges the existence of an agency

relationship and identifies Defendants’ agents. See id. D.I. ¶¶ 15-16. The Complaint specifically

alleges that since November 1, 2014, Defendants’ Subservicer has been Transworld Systems,

Inc. See id. ¶ 16. The Complaint alleges that the Servicers and other entities executed, notarized,

and filed deceptive affidavits on behalf of the Trusts and filed collection lawsuits on behalf of the


15The Bureau notes that there are numerous “Trust Related Agreements” which further
define the Defendants’ relationships to its various trustees and servicers. See Ambac Movs.
Ex. 7 at 7 (listing at least 14 agreements in definition of “Trust Related Agreements”). Any,
or all, of these documents could be offered to litigate the issue of agency on the merits.



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Trusts. See id. ¶¶ 19-20. Finally, it alleges that Subservicers acting on behalf of Defendants

executed, notarized, and caused to be filed affidavits and documents in collections lawsuits in

support of claims that consumers owed debts to Defendants. See id. ¶ 25.

       Contrary to the Ambac Movants’ assertions, see Ambac Movs. Br. at 23, “control” is not

the sine qua non of an agency relationship and vicarious liability can be based upon apparent

authority. “‘Apparent authority arises in those situations where the principal causes persons with

whom the agent deals to reasonably believe that the agent has authority’ despite the absence of

an actual agency relationship.” Covington v. Int’l Ass’n of Approved Basketball Offs., 710 F.3d

114, 120 (3d Cir. 2013) (citing AT & T v. Winback & Conserve Program, Inc., 42 F.3d 1421,

1439 (3d Cir. 1994); see also Restatement (Third) Of Agency § 2.03 (2006).16

       Courts have frequently held entities liable for the conduct of agents or servicers that act

with actual or even apparent authority. See FTC v. Stefanchik, 559 F.3d 924, 930 (“Under the

FTC Act, a principal is liable for the misrepresentations of his agent acting within the scope of

the agent’s actual or apparent authority.”); FTC v. Inc21.com Corp., 688 F. Supp. 2d 927, 939

(N.D. Cal. 2010) (finding liability under FTC Act for allegedly unauthorized actions of

defendant’s contracted call centers). The Complaint is replete with allegations supporting, at a

minimum, apparent authority to act on behalf of the Trust Defendants. There are numerous



16 The Ambac Movants assert that the Special Servicing Agreement (“SSA”) disclaims an
agency relationship and provides that the Special Servicer shall be an independent contractor.
See Ambac Movs. Br. at 4 (citing Ambac Movs. Ex. 1 §§ 17-18). The existence of agency is
determined by the facts of the relationship, and the parties’ characterizations of their relationship
in an agreement do not control. See Restatement (Third) Of Agency § 1.02 (2006). And as a
matter of law, independent contractors can be agents. See AT & T, 42 F.3d at 1437–39. In any
event, the SSA does not disclaim any and all agency relationship, it merely limits the Special
Servicer’s agency relationship to the activities it is authorized to undertake on the Trusts’ behalf,
see Ambac Movs. Ex. 1 § 17, including retaining subservicers to act on the Trusts’ behalf to
service and collect on loans, see id. §§ 2(B)(i), (xv).


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allegations referencing the Trusts’ servicers filing collections lawsuits and affidavits on its

behalf. See e.g., D.I. 1 at ¶¶ 18, 19, 20, 24, 25, 26, 43. The reasonable inference, based upon

lawsuits filed in the name of the Trusts as plaintiffs, is that the individual/entity filing such a

lawsuit has the authority to do so. This is all that is required at this stage in the proceeding.

Covington, 710 F.3d at 120.

        The Ambac Movants also argue that the Bureau has not established Article III standing

because the alleged violations of the law are not fairly traceable to the conduct of Defendants.

See Ambac Movs. Br. at 20-22. Injuries committed by a Defendant’s agents are fairly traceable

to the Defendant. See, e.g., Merriam v. Demoulas, No. CIV.A. 11-10577-RWZ, 2013 WL

2422789, at *4 (D. Mass. June 3, 2013) (“[Article III’s] causation standard does not require that

the defendant personally commit the act that harms the plaintiff. For instance, a plaintiff can

have standing to sue a principal for acts committed by his agent.”); The Ambac Movants’ brief

appears to argue that vicarious liability is per se incompatible with Article III standing, but that is

not the law. See Bogart v. City of New York , No. 13 CIV. 1017 NRB, 2015 WL 5036963, at *4

(S.D.N.Y. Aug. 26, 2015) (vicarious liability and constitutional standing are distinct inquiries);

Mastafa v. Australian Wheat Bd. Ltd., No. 07 CIV. 7955 (GEL), 2008 WL 4378443, at *2

(S.D.N.Y. Sept. 25, 2008) (allegations of aiding and abetting liability are “sufficient for purposes

of Article III”). The cases cited by the Ambac Movants simply stand for the general proposition

that a proper party must be the defendant in a suit, which, as the foregoing demonstrates,

Defendant Trusts are here. See, e.g., Jacobson v. Fla. Sec'y of State, 957 F.3d 1193, 1207–08

(11th Cir. 2020) (holding that plaintiffs did not have standing because they failed to establish at

trial the vicarious liability of the defendant).




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        Taking the facts as alleged in the Complaint as true with all reasonable inferences in a

light most favorable to the Bureau, including those allegations demonstrating apparent authority

to file lawsuits on behalf of the Trusts, establishes that the motion to dismiss should be denied.

   V.      The Bureau’s Complaint Is Not Barred by the Statute of Limitations.

        There are no grounds to dismiss the Complaint based on the CFPA’s statute of

limitations. “A statute of limitations defense is an affirmative defense that a defendant must

usually plead in his answer.” Stephens v. Clash, 796 F.3d 281, 288 (3d Cir. 2015) (citing Schmidt

v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014); Keel v. Del. State Univ. Bd. of Trs., No. 17-1818

(MN), 2020 WL 2839222, at *5 (D. Del. May 31, 2020). The Third Circuit nevertheless permits

a limitations defense to be raised in a Rule 12(b)(6) motion, but only if “the face of the complaint

demonstrates that the plaintiff’s claims are untimely.” Stephens, 796 F.3d at 288 (internal citation

and quotation marks omitted); Keel, 2020 WL 2839222, at *5. And because a plaintiff is not

required to plead facts in its complaint to overcome an affirmative defense, “the statute of

limitations cannot justify Rule 12 dismissal” if the complaint does not reveal when the

limitations period began to run. Stephens, 796 F.3d at 288 (quoting Barefoot Architect, Inc. v.

Bunge, 632 F.3d 822, 835 (3d Cir. 2011)).

        The Ambac Movants come nowhere close to meeting this standard. Their entire argument

is based on the Bureau’s                                                      – an investigative

tool used by the Bureau to collect information from a person who may have information relevant

to a violation, see 12 U.S.C. § 5562(c) –                        . See Ambac Movs. Br. at 25-27.

          is not referenced on the face of the Complaint, and the Ambac Movants point to no

allegations in the Complaint that relate to this action’s timeliness. The standard for dismissal for

untimeliness on a 12(b)(6) motion has not been met, and the Court may end its inquiry here.




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Even if the Court were to go beyond the face of the Complaint, the Ambac Movants have not

established grounds for dismissal.

       A.      The CFPA provides an actual discovery statute of limitations .

       The Ambac Movants argue that the Bureau discovered or should have discovered the

violations to which this action relates before September 18, 2014. Id. at 25. Specifically, they

contend that                                                  , constitutes proof that the Bureau

“had begun investigating” Defendants, and therefore “[knew] or had reason to know of” the

violations more than three years before filing suit. Id. at 26-27. This argument both misconstrues

the CFPA’s statute of limitations and ignores Supreme Court and Third Circuit precedent

regarding the definition of “discovery.”

       Under the CFPA, “[e]xcept as otherwise permitted by law or equity, no action may be

brought under this title more than 3 years after the date of discovery of the violation to which an

action relates.” 12 U.S.C. § 5564(g)(1). A “violation” is “any act or omission that, if proved,

would constitute a violation of any provision of Federal consumer financial law.” 12 U.S.C.

§ 5561(5). According to its plain text, the CFPA’s statute of limitations runs from actual

discovery, not from constructive discovery of the violations as the Ambac Movants contend.

       The Ambac Movants rely on three cases, none of which support their interpretation of the

CFPA’s limitations provision. See Ambac Movs. Br. at 15, 26. Two of these cases involve statute

of limitations provisions that are fundamentally different from § 5564(g)(1). See Stephens, 796

F.3d at 284-89 (grafting flexible, knew-or-should-have-known “discovery rule” onto accrual

limitations provision); United States ex rel. Bauchwitz v. Holloman, 671 F. Supp. 2d 674, 695

(E.D. Pa. 2009) (interpreting limitations provision that expressly included both actual and

constructive discovery). And while the third case involved the CFPB’s limitations provision, the

district court conducted no analysis before suggesting that a constructive discovery rule would


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apply, did not even apply the standard to any set of facts, and relied on a Second Circuit case

involving private plaintiffs and a different statute. See CFPB v. NDG Fin. Corp., No. 15-CV-

5211 (CM), 2016 WL 7188792, at *19 (S.D.N.Y. Dec. 2, 2016) (citing Kahn v. Kohlberg,

Kravis, Roberts & Co., 970 F.2d 1030, 1042 (2d Cir. 1992)). The CFPA’s limitations provision,

on the other hand, clearly does not contemplate constructive discovery as the statute in

Bauschwitz did, nor is there justification for anything approaching the judicially-created rule

adopted in Stephens.17 For these reasons, the Court should recognize that the CFPA’s statute of

limitations does not incorporate a constructive discovery standard.

       B.      Discovery is not apparent from the face of the Complaint.

       Even if § 5564(g)(1) were a constructive discovery limitations provision, the Ambac

Movants still have not satisfied their burden. To prove that the Bureau’s claims were filed

outside the limitations period, they would have to show that the face of the Complaint reveals

that the Bureau discovered or should have discovered all necessary elements of the violations

underlying its claims before September 18, 2014. See Merck & Co. v. Reynolds, 559 U.S. 633,

648-49 (2010) (limitations period does not begin to run until plaintiff discovers facts suggesting




17 Courts have voiced concern about the possibility of applying a constructive discovery standard
to actions brought by government enforcement agencies. When canvassing discovery-rule cases
akin to those in Stephens and Bauschwitz, the Supreme Court noted that it has “never applied the
discovery rule in [that] context, where the plaintiff is not a defrauded victim seeking recompense,
but is instead the Government bringing an enforcement action for civil penalties.” Gabelli v.
SEC, 568 U.S. 442, 449 (2013). Various practical considerations suggest that a constructive
discovery standard should not be read into a statute of limitations applying only to the
government. See 3M Co. v. Browner, 17 F.3d 1453, 1461 (D.C. Cir. 1994). This is especially true
because it is “unclear whether and how courts should consider agency priorities and resource
constraints in applying [the constructive discovery] test to Government enforcement actions.”
Gabelli, 568 U.S. at 452-453. Reading constructive discovery into the CFPA also would run
afoul of Supreme Court precedent requiring statutes of limitation to receive strict construction in
favor of the government. See Badaracco v. Comm’r, 464 U.S. 386, 391-392 (1984) (citing E.I.
Dupont de Nemours & Co. v. Davis, 264 U.S. 456, 462 (1924)).


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all necessary elements of violation); Pension Tr. Fund for Operating Eng’rs v. Mortg. Asset

Securitization Transactions, Inc., 730 F.3d 263, 275 (3d Cir. 2013) (facts are not discovered until

they can be “adequately plead . . . in a complaint . . . with sufficient detail and particularity to

survive a 12(b)(6) motion to dismiss”) (internal quotation omitted). Thus,

                            , a preliminary investigative step cannot possibly constitute

constructive “discovery” of Defendants’ CFPA violations. See CFPB v. Nationwide Biweekly

Admin., No. 15-cv-02106-RS, 2017 WL 3948396, at *10, n.22 (N.D. Cal. Sept. 8, 2017) (Bureau

has not discovered a violation if it lacks sufficient facts to file suit) appeal pending; In the

Matter of Integrity Advance, LLC, File No. 2015-CFPB-0029, at 14 (Jan. 24, 2020 Order)

(discovery does not occur until “a plaintiff has a complete and present cause of action”). The

Ambac Movants offer no explanation for how the Bureau would have a complete and present

cause of action before even investigating possible wrongdoing.

    VI.      CONCLUSION

          For the foregoing reasons, the Court should deny Intervenor Transworld Systems Inc.’s

Motion to Dismiss for Lack of Subject Matter Jurisdiction (D.I. 242) and Intervenors’ Motion to

Dismiss (D.I. 300). The Bureau’s prosecution of this action does not offend separation of powers

principles, the Court has subject matter jurisdiction over the Bureau’s claims, the claims are not

time-barred, and the Bureau has standing to sue the named Defendants.

          The Bureau requests oral argument pursuant to Local Rule 7.1.4.




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Dated: August 7, 2020


                                    Respectfully submitted,


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                                         CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2020, I electronically filed Plaintiff’s Opposition to
Intervenor TSI’s Motion to Dismiss and Intervenors Ambac, WTC, and PHEAA’s Motion to Dismiss
with the Clerk of Court using CM/ECF which will send notification of such filing(s) to all parties to
this matter registered for CM/ECF.

        I hereby further certify that I sent a copy of the same by certified mail to agent authorized to
accept service on behalf of the Defendants.

Dated: August 7, 2020

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